                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ART ASK AGENCY,                     )
                                    )
            Plaintiff,              )                Case No. 20-cv-1666
                                    )
      v.                            )                Hon. Steven C. Seeger
                                    )
THE INDIVIDUALS, CORPORATIONS, )
LIMITED LIABILITY COMPANIES,        )
PARTNERSHIPS AND                    )
UNINCORPORATED ASSOCIATIONS )
IDENTIFIED ON SCHEDULE A            )
HERETO,                             )
                                    )
            Defendants.             )
____________________________________)

                                             ORDER

         This case involves counterfeit unicorn drawings. The complaint includes a few examples
of products that allegedly infringe Plaintiff’s trademarks, which offer “striking designs and life-
like portrayals of fantasy subjects.” See Cplt. at ¶ 7 (Dckt. No. 1). One example is a puzzle of
an elf-like creature embracing the head of a unicorn on a beach. Id. at p.4. Another is a hand
purse with a large purple heart, filled with the interlocking heads of two amorous-looking
unicorns. Id. There are phone cases featuring elves and unicorns, and a unicorn running beneath
a castle lit by a full moon. Id.

        Meanwhile, the world is in the midst of a global pandemic. The President has declared a
national emergency. The Governor has issued a state-wide health emergency. As things stand,
the government has forced all restaurants and bars in Chicago to shut their doors, and the schools
are closed, too. The government has encouraged everyone to stay home, to keep infections to a
minimum and help contain the fast-developing public health emergency.

        The United States District Court for the Northern District of Illinois took action last week
to protect the public, issuing General Order No. 20-0012 entitled IN RE: CORONAVIRUS
COVID-19 PUBLIC EMERGENCY. See www.ilnd.uscourts.gov (last visited March 16, 2020)
(bold and all caps in original). On March 16, the Executive Committee issued an amended Order
that, among other things, holds all civil litigation in abeyance. Id.

        Last week, Plaintiff filed a motion for a temporary restraining order (Dckt. No. 11)
against the Defendants (who are located abroad) and requested a hearing. See Dckt. No. 1, at
¶ 12. This Court thought that it was a bad time to hold a hearing on the motion. So, this Court
moved the hearing by a few weeks to protect the health and safety of our community, including
counsel and this Court’s staff. See Dckt. No. 19. Waiting a few weeks seemed prudent.

        Plaintiff has not demonstrated that it will suffer an irreparable injury from waiting a few
weeks. At worst, Defendants might sell a few more counterfeit products in the meantime. But
Plaintiff makes no showing about the anticipated loss of sales. One wonders if the fake fantasy
products are experiencing brisk sales at the moment.

        On the flipside, a hearing – even a telephonic one – would take time and consume
valuable court resources, especially given the girth of Plaintiff’s filings. See Dckt. Nos. 1, 6-7,
11-18. And the proposed temporary restraining order would require the attention of innocent
third parties, and create a cascade of obligations. Plaintiff wants to force financial institutions to
lock down accounts, and require domain name registries to shut down websites, for example.
See Dckt. No. 12. Plaintiff requests an order forcing innocent third parties – such as Amazon,
eBay, PayPal, Alibaba, Western Union, plus social media platforms such as “Facebook,
YouTube, LinkedIn, [and] Twitter,” plus internet search engines such as “Google, Bing and
Yahoo,” among others – to spring into action within two or three days. Either the order would be
a nullity, or it would distract people who may have bigger problems on their hands right now.

       In response, Plaintiff Art Ask Agency and its counsel filed a motion for reconsideration.
See Dckt. No. 20. They ask this Court to re-think its scheduling order. They want a hearing this
week (telephonically if need be).

         Plaintiff recognizes that the community is in the midst of a “coronavirus pandemic.” Id.
at ¶ 3. But Plaintiff argues that it will suffer an “irreparable injury” if this Court does not hold a
hearing this week and immediately put a stop to the infringing unicorns and the knock-off elves.
Id. at ¶ 4. To top it off, Plaintiff noticed the motion for a hearing on March 19, 2020, a day that
has been blocked off on the Court’s calendar – as revealed on its webpage – for several weeks.
See www.ilnd.uscourts.gov (last visited March 16, 2020) (“The Honorable Steven C. Seeger will
not be holding court on Thursday, March 19, 2020 . . . .”).

        Meanwhile, the Clerk’s Office is operating with “limited staff.” See Amended General
Order No. 20-0012, at ¶ 5. “[P]hone conferencing” is available “in emergency situations and
where resources permit.” Id. at ¶ 1. The Court can still hear emergency motions, but resources
are stretched and time is at a premium. Id. at ¶ 4. If there’s ever a time when emergency
motions should be limited to genuine emergencies, now’s the time.

        Thirty minutes ago, this Court learned that Plaintiff filed yet another emergency motion.
They teed it up in front of the designated emergency judge, and thus consumed the attention of
the Chief Judge. See Dckt. No. 23. The filing calls to mind the sage words of Elihu Root:
“About half of the practice of a decent lawyer is telling would-be clients that they are damned
fools and should stop.” See Hill v. Norfolk and Western Railway Co., 814 F.2d 1192, 1202 (7th
Cir. 1987) (quoting 1 Jessup, Elihu Root 133 (1938)).

       The world is facing a real emergency. Plaintiff is not. The motion to reconsider the
scheduling order is denied.


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Date: March 18, 2020

                           Steven C. Seeger
                           United States District Judge




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